Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 1 of 9




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:21-cv-00747-CMA-NRN

  ZACHARY T. POLLARA,

         Plaintiff,

  v.

  MIDLAND CREDIT MANAGEMENT, INC.

         Defendant.


                                  FIRST AMENDED COMPLAINT

         NOW COMES Plaintiff, ZACHARY T. POLLARA, by and through his undersigned

  counsel, complaining of Defendant, MIDLAND CREDIT MANAGEMENT, INC., as follows:

                                     NATURE OF THE ACTION

         1.      Plaintiff brings this action seeking for Defendant’s violations of the Fair Debt

  Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and violations of the Colorado

  Consumer Protection Act.

         2.      Congress expressly found that “there is abundant evidence of the use of abusive,

  deceptive, and unfair debt collection practices by many debt collectors.” 15 U.S.C. §1692(a).

                                   JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

         4.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES

         5.      ZACHARY T. POLLARA (“Plaintiff”) is a natural person, over 18-years-of-age,

  who at all times relevant resided in this federal jurisdiction.


                                                     1
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 2 of 9




         6.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

         7.      MIDLAND CREDIT MANAGEMENT, INC. (“Defendant”) is a corporation

  organized under the laws of Kansas.

         8.      Defendant maintains its principal place of business at 350 Camino De La Reina,

  Suite 300, San Diego, California 92180.

         9.      Defendant is one of the nation’s most prominent debt buyers.

         10.     Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6) because (1) it

  uses instrumentalities of interstate commerce and the mail in the course of collecting consumer

  debt; (2) the principal purpose of Defendant’s business is the collection of debt; and (3) it regularly

  collects consumer debt owed to others.

                                     FACTUAL ALLEGATIONS

         11.     A number of years ago, Plaintiff applied for and obtained a personal credit card

  from Credit One Bank, N.A. (“CreditOne”).

         12.     Plaintiff made various charges for personal purposes on the CreditOne credit card,

  amassing a balance.

         13.     Due to financial hardship, Plaintiff fell behind on his monthly payments on the

  CreditOne credit card.

         14.     Eventually, Plaintiff’s account fell into default status with an outstanding balance

  of approximately $671.77 (“subject debt”).

         15.     The subject debt is a “debt” as defined by 15 U.S.C. § 1692a(5).

         16.      Shortly thereafter, Midland Funding, LLC purchased the subject debt from

  CreditOne and began collection activities on the subject debt through the services of Defendant.

         17.     On or around February 26, 2021, Defendant sent Plaintiff a written correspondence

  attempting to collect the subject debt (“Midland’s Letter”).
                                                    2
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 3 of 9




         18.      Midland’s Letter depicted, in pertinent part:




         19.      Defendant’s Letter presented various offers to Plaintiff to resolve the subject debt.

         20.      Moreover, Midland’s Letter expressly stated: “STOP our calls by selecting one of

  these 3 options” (“the language”).

         21.      The language implicitly implies that the only way to compel Defendant to cease its

  collection calls is to select one of the three payment options enumerated in Defendant’s Letter.

         22.      The language is patently misleading because the FDCPA requires debt collectors

  to cease communications with a consumer regarding a debt if the consumer requests the same in

  writing.

         23.      Specifically, subject to inapplicable exceptions, §1692(c)(c) of the FDCPA

  provides:

             If a consumer notifies a debt collector in writing that the consumer refuses to
             pay a debt or that the consumer wishes the debt collector to cease further
             communication with the consumer, the debt collector shall not
             communicate further with the consumer with respect to such debt…. 15
             U.S.C. §1692(c)(c).

                                                    3
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 4 of 9




           24.    The language in Defendant’s Letter was designed to mislead Plaintiff and other

  similarly situated consumers into believing that they must make payment on the debt to compel

  the cessation of the collection calls.

           25.    However, as set forth above, the FDCPA expressly provides consumers with

  mechanisms to compel the cessation of communications from a debt collector.

           26.    The language in Midland’s Letter was deliberately designed to mislead Plaintiff

  and pressure Plaintiff into making a prompt payment on the subject debt in order to compel

  Defendant to cease its collection calls.

           27.    The language in Defendant’s Letter was deliberately designed to mislead Plaintiff

  as to his rights and protections under the FDCPA and to obfuscate the same.

           28.    Additionally, Defendant attempted to collect the subject debt by placing numerous

  collection calls to Plaintiff.

           29.    Plaintiff advised Defendant on numerous time that he no longer wished to receive

  the unwanted collection calls.

           30.    Despites Plaintiff’s requests, Defendant continued to contact Plaintiff via collection

  calls.

           31.    After reading the language in Defendant’s Letter, Plaintiff was misled into

  believing that he had to make payment pursuant to one of the three offers enumerated in

  Defendant’s Letter to compel Defendant to discontinue its collection calls or prevent Defendant

  from initiating future collection calls.

           32.    Accordingly, Defendant’s misleading representations were material because it

  impacted Plaintiff’s decision to pay the subject debt and the representations impacted Plaintiff’s

  ability to properly and fully assess the status of the subject debt.

                                                     4
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 5 of 9




          33.    The conundrum created by the language in Defendant’s Letter caused Plaintiff

  significant emotional distress and anxiety.

          34.    It was only after Plaintiff conferred with his counsel did he discover that he does

  not have to select one of the three payment options enumerated in Defendant’s Letter to compel

  Defendant to cease its collection calls.

                                       CLAIMS FOR RELIEF

                                           COUNT I:
                   Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

          35.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

  though fully set forth herein.

          36.    All Paragraphs of this Complaint are expressly adopted and incorporated herein as

  though fully set forth herein.

                       a. Violation(s) of 15 U.S.C. §1692c

          37.    Section 1692c(a) of the FDCPA provides:

                 Without the prior consent of the consumer given directly to the debt
                 collector or the express permission of a court of competent jurisdiction, a
                 debt collector may not communicate with a consumer in connection with
                 the collection of any debt-

                 (1)      at any unusual time or place or a time or place known or which
                          should be known to be inconvenient to the consumer. . .
                          15 U.S.C. § 1692c(a)(1).


          38.    Despite being notified that its collection calls were unwanted, Defendant made the

  conscious decision to continue its harassing phone calls, which were clearly inconvenient to

  Plaintiff.




                                                  5
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 6 of 9




          39.       Defendant violated § 1692c(a)(1) by placing numerous unwanted and unconsented

  collection calls to Plaintiff’s cellular phone numbers at a time Defendant knew to be inconvenient

  for Plaintiffs.

          40.       In other words, since Plaintiffs did not want any calls from Defendant, any call

  placed after the cease request was known by Defendant to be an inconvenient time for Plaintiffs.

                       b. Violation(s) of 15 U.S.C. §1692d

          41.       Pursuant to § 1692d of the FDCPA, a debt collector is prohibited from engaging

  “in any conduct the natural consequence of which is to harass, oppress, or abuse any person in

  connection with the collection of a debt.” 15 U.S.C. §1692d

          42.       Section 1692d(5) of the FDCPA prohibits a debt collector from “causing a

  telephone to ring or engaging any person in telephone conversation repeatedly or continuously

  with intent to annoy, abuse, or harass any person at the called number.” 15 U.S.C. §1692d(5)

          43.       Defendant violated §§ 1692d and d(5) by placing numerous unwanted and

  unconsented to collection calls to Plaintiffs’ cellular phone numbers in an attempt to collect the

  subject debt after being requested to cease the unwanted calls.

          44.       Defendant’s conduct in systematically placing unwanted calls to Plaintiffs’ cellular

  phone number is inherently harassing and abusive.

          45.       Defendant’s collection calls to Plaintiffs were made with the specific intent of

  annoying, harassing, and abusing Plaintiffs as Plaintiffs informed Defendant they no longer wished

  to be contacted on their cellular telephones.

          46.       The fact that Defendant knowingly placed calls to Plaintiffs after Plaintiffs made

  requests that the calls cease is illustrative of Defendant’s intent to harass and annoy Plaintiffs.




                                                     6
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 7 of 9




           47.    Pursuant to §1692e of the FDCPA, a debt collector is prohibited from making “any

  false, deceptive, or misleading representation” in connection with the collection of a debt. 15

  U.S.C. § 1692e.

           48.    Section 1692e(10) of the FDCPA prohibits a debt collector from using any false

  representation or deceptive means to collect or attempt to collect any debt. 15 U.S.C. § 1692e(10).

           49.    Defendant violated 15 U.S.C. §§1692e and e(10) by making deceptive and

  misleading representations to Plaintiff in an attempt to collect the subject debt.

           50.    Specifically, it is was inherently deceptive for Defendant to mislead Plaintiff into

  believing that Plaintiff has to select one of the three payment options to compel Defendant to

  discontinue its collection calls or otherwise prevent Defendant from initiating future collection

  calls.

           51.    As set forth above, the FDCPA provides consumers with mechanisms to compel a

  debt collector to cease communication with a consumer that do not require the consumer to make

  a payment on the debt.

           52.    Accordingly, the language in Defendant’s Letter misled Plaintiff as to his rights

  under the FDCPA.

           53.    The deceptive language in Defendant’s Letter misled Plaintiff in a manner that

  deprived him of his right to enjoy the protections of the FDCPA.

           54.    As set forth above, Plaintiff was harmed by Defendant’s deceptive collection

  practices.

           WHEREFORE, Plaintiff, respectfully requests that this Honorable Court enter judgment

  in his favor as follows:

           a.     Declaring that the practices complained of herein are unlawful and violate Sections
                  1692c, d, e and e(10) of the FDCPA;

                                                    7
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 8 of 9




           b.     Awarding Plaintiff statutory and actual damages, in an amount to be determined at
                  trial, for the underlying FDCPA violations;
           c.     Awarding Plaintiff his reasonable attorney’s fees and costs;
           d.     Awarding any other relief as the Honorable Court deems just and proper.


                                                COUNT II
                                  Colorado Consumer Protection Act
          55.       Plaintiff incorporates all paragraphs as fully set forth herein.

          56.     To prevail on a Colorado Consumer Protection Act (“CCPA”) claim, “a plaintiff

  must show: (1) that the defendant engaged in an unfair or deceptive trade practice; (2) that the

  challenged practice occurred in the course of defendant’s business, vocation, or occupation; (3)

  that it significantly impacts the public as actual or potential consumers of the defendant’s goods,

  services, or property; (4) that the plaintiff suffered injury in fact to a legally protected interest; and

  (5) that the challenged practice caused the plaintiff's injury.” Kelly v. Wolpoff & Abramson, L.L.P.,

  2007 U.S. Dist. LEXIS 60528, at *25 (D. Col. 2007).

          57.      Defendant violated the CCPA by (1), providing Plaintiff with deceptive and

  confusing information about his statutorily guaranteed rights and (2) repeatedly ignoring Plaintiff’s

  requests to have the collection calls cease and thus harassing Plaintiff in an attempt to obtain

  payment on the subject account.

          58.      Defendant’s conduct as outlined herein was patently unfair and caused Plaintiff

  injury as explained above.

          59.      Plaintiff had no choice but to submit to Defendant’s abusive and harmful conduct

  as outlined herein.




                                                      8
Case 1:21-cv-00747-CMA-NRN Document 21 Filed 07/16/21 USDC Colorado Page 9 of 9




             60. Plaintiff’s experience with Defendant as set forth herein is not unique to Plaintiff

     as upon information and belief numerous consumers in Colorado have suffered similarly.

     WHEREFORE, Plaintiff requests the following relief:

     A.    A finding that Defendant’s conduct violated the CCPA;

     B.    Entry of judgment in Plaintiff’s favor and against Defendant for violations of the CCPA;

     C.    An award of actual damages;

     D.    An award of punitive damages;

     E.    An award of Plaintiff’s attorney’s fees and costs.



                                   DEMAND FOR JURY TRIAL

          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

  Dated: July 16, 2021                                          Respectfully submitted,

                                                                ZACHARY T. POLLARA

                                                                /s/ Victor T. Metroff

                                                                Mohammed Badwan, Esq.
                                                                Victor T. Metroff, Esq.
                                                                Counsel for Plaintiff
                                                                Sulaiman Law Group, Ltd.
                                                                2500 S. Highland Ave., Ste. 200
                                                                Lombard, IL 60148
                                                                (630) 575-8181
                                                                mbadwan@sulaimanlaw.com
                                                                vmetroff@sulaimanlaw.com




                                                    9
